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                             United States District Court
                                   NORTHERN DISTRICT OF TEXAS
                                          DALLAS   DIVISION



 S I LV E S T E R H AY E S                         §
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                                                   §          C I V I L A C T I O N N O . 3 : 2 3 - C V- 2 2 7 1 - S
 CITY OF DALLAS, HOLLY HARRIS,                     §
 WALTER PAUL GUAB, and DALLAS                      §
 POLICE OFFICERS DOES 1                            §
 THROUGH 10                                        §

                             MEMORANDUM        OPINION     AND      ORDER


            This Memorandum Opinion and Order addresses Defendants Holly Harris, Walter Guab,

and the City of Dallas’s Motion for Summary Judgment (“Motion”) [ECF No. 30]. The Court has

reviewed the Motion, Defendants’ Brief in Support of the Motion (“Defendants’ Brief’) [ECF

No. 31], Plaintiff Silvester Hayes’s Response in Opposition to the Motion (“Response”) [ECF

No. 39], Plaintiffs Brief in Support of the Response (“Plaintiffs Brief’) [ECF No. 40],

Defendants’ Reply in Support of the Motion [ECF No. 49], the summary judgment evidence, and

the applicable law. For the following reasons, the Court GRANTS the Motion.

                                         I.   BACKGROUND


            This 42 U.S.C. §1983 case arises from aconfrontation between Plaintiff Silvester Hayes

and Dallas police of cers. On October 16, 2021, Defendants Walter Guab and Holly Harris ran a

registration check on avehicle while on patrol. Defs.’ App. in Supp. of the Mot. (“Defendants’

Appendix”) [ECF No. 17] 7. They cross-referenced the owner’s name with another system and

'observed aperson with the name ‘Sylvester Hayes’ who had afelony warrant for family

violence.” Id.-, see also PL’s First Am. Compl. (“Complainf’) [ECF No. 27] f21. Subsequently,

Plaintiff, who was driving the car, failed to signal before turning left. Defs.’ App. 7; see also PL’s
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     App. in Supp. of His Resp. (“Plaintiffs Appendix”) [ECF No. 41], Ex. 1[ECF No. 41-1] 3. Guab

     and Harris initiated atraf c stop based on this traf c violation. Defs.’ App. 7.

                  From this point forward, various body-worn cameras and dash cameras captured the

     ensuing events. After pulling Plaintiff over, Guab gets out of the car, walks to the driver’s side

     window of Plaintiff svehicle, and begins speaking with Plaintiff. Defs.’ App., Ex. 21, at 00:20-46;

     Defs.’ App., Ex. 1, at 00:14-24. Harris walks up and joins him. Defs.’ App., Ex. 1, at 00:14-20;

     Defs.’ App., Ex. 21, at 00:47-01:00. After complaining about being pulled over, Defs.’ App., Ex. 1,

     at 00:24-36, Plaintiff hands Guab his driver’s license, id. at 00:37-38. Guab hands the license to

     Harris and returns to Plaintiffs window. Id. at 00:39-46. Harris appears to con rm that Plaintiff

     is the person subject to the felony warrant. Id. at 00:44-45. Guab then directs Plaintiff to step out

     of the car and attempts, unsuccessfully, to open Plaintiffs door via the outside handle. Id.

     at 00:46-49. Guab reaches in through the open window, unlocks the car door, and again tells

     Plaintiff to step out. Id. at 00:50-56. Plaintiff does not do so, and Guab opens the now-unlocked

     d o o r. I d . a t 0 0 : 5 6 - 5 8 .


                 Through the open door, Guab informs Plaintiff that he is being detained and directs him

     again to step out. Id. at 00:59-01:09. Guab repeats the command to step out several more times

     and warns Plaintiff that he will be tased if he does not comply. Id. at 01:10-26. Plaintiff continues

     to refuse, and Guab reaches into the car to grab him, all the while repeatedly telling Plaintiff to

     step out of the car. Id. at 01:27-33. Other police of cers join Guab and Harris outside the car door

     and assist Guab in attempting to pull Plaintiff out of the car by his left arm. Id. at 01:33-46.

                 As the of cers are trying to remove Plaintiff from the car, non-party Of cer Whitman

     opens the passenger door and orders Plaintiff to get out of the car. Defs.’ App., Ex. 2, at 00:47-52.

     Whitman sees that Plaintiff has agun in his right pocket and alerts the other of cers at the scene.




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                         Id. at 1:01-05; Defs.’ App, Ex. 1, at 01:47-51. Plaintiff yells that it is his gun. Defs.’ App., Ex. 1,

                         at 01:50-53. Whitman takes the gun from Plaintiff, stating that he “got it.” Defs.’ App., Ex. 2,

                         at 01:13-15. The of cers on the driver’s side of the car manage to pull Plaintiff out of the car, and

                         he falls to the ground. Defs.’ App., Ex. 1, at 01:54-02:02; PL’s App., Ex. 1, at 4. Ahandcuff dangles

                         from his left wrist, and Harris brie y grabs his left hand. Defs.’ App., Ex. 1, at 01:52-02:00.

                                  Of cers, including Guab, hold Plaintiff down on the ground and tell him to stop resisting.

                         Id. at 02:00-20. Harris and Guab grab Plaintiffs left wrist and try to hold it behind his back, while

                         another of cer does the same with Plaintiffs right wrist. Id. During this time. Plaintiff is

                         squirming, appears to be trying to stand up, and accuses one of the of cers of putting his or her

                         foot on Plaintiffs neck. Id. However, the body camera footage shows that the of cer has his foot

                         on the ground and his knee on the top part of Plaintiff sback. Defs.’ App., Ex. 2, at 01:29-35.

                                  Plaintiff ips over onto his back, and Harris holds down his right leg with both hands.

                         Defs.’ App., Ex. 1, at 02:46-51. Plaintiff pulls his other leg toward Harris and ips back onto his

                         stomach. Id. at 02:52-55. Harris holds his right leg down with both hands. Id. at 02:55-03:12.

                         Another of cer intermittently holds Plaintiffs head down so that his cheek is against the ground.

                         Defs.’ App., Ex. 2, at 02:07-28. The same of cer also has his hand on the back or side of Plaintiff s

                         neck twice—once for approximately three seconds and the second time for approximately eight

                         seconds. Defs.’ App., Ex. 4, at 00:10-13, 00:18-26.

                                  The of cers stand Plaintiff up. Defs.’ App., Ex. 1, at 03:23. He continues to resist them

                         and yell loudly. Id. at 03:23-27. Harris brie y puts her hands on Plaintiffs chest before moving

                         some distance away, and Guab is standing nearby. Id. at 03:26-30. Guab assists the other of cers

                         in facing Plaintiff toward apolice vehicle and holding him against it. Id. at 03:24-35.




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                              As Harris walks around, talking to someone on the radio, agroup of of cers, including

                    Guab, attempt to walk Plaintiff to apolice vehicle. Id. at 03:41-57. Plaintiff continues to yell and

                    physically resist. Id. As the of cers attempt to push Plaintiff into the police car, one unidenti ed

                    of cer—neither Guab nor Harris—wraps his ngers around Plaintiffs throat. Id. at 03:59-04:03.

                    The same of cer appears to brie y raise his knee to Plaintiffs stomach and then pushes down on

                    the baek of Plaintiff shead in an apparent effort to make him duck and get inside the vehicle. Id.

                    at 04:04-11. Plaintiff continues strenuously resisting. Id.

                              As the of cers are trying to get Plaintiff into the car despite his resistance. Plaintiff falls to

                    the ground. Id. at 04:15-24. Guab calls for leg restraints. Id. at 04:26-27. While waiting on the leg

                    restraints, agroup of of cers not including Guab or Harris holds Plaintiff down on the ground. Id.

                    at 04:34-45. One of cer has his knee on the ground near Plaintiffs neck and intermittently holds

                    Plaintiffs arm and the side of Plaintiff sface down with his hand. Defs.’ App., Ex. 2, at 03:40-

                    04:30; Defs.’ App., Ex. 5, at 00:44-01:00, 01:13-41, 2:10-11; Defs.’ App., Ex. 7, at 00:43-50.

                    Non-party Of cer Grajeda runs over with zip tie-like restraints. Defs.’ App., Ex. 1, at 04:41-44;

                    Defs.’ App., Ex. 6, at 00:42-50. Guab runs off toward Plaintiffs car. Defs.’ App., Ex. 1,

                    at 04:42-51. As the of cers continue struggling to restrain Plaintiffs legs, Guab and Harris are

                    walking around and standing some distance away and not touching Plaintiff. Id. at 04:52-05:53.

                    Plaintiff accuses an of cer of pressing on his pressure points, and the of cer acknowledges that

                    he is doing so. Defs.’ App., Ex. 2, at 04:16-22.

                              Plaintiff asks to get in the car and repeatedly states that he will get in. Id. at 04:29-37. As

                    Grajeda is trying to restrain Plaintiffs legs. Plaintiff kicks one of his legs away from Grajeda.

                    Defs.’ App., Ex. 6, at 01:27-29. The of eers then nish restraining Plaintiffs legs by putting

                    restraints around his ankles and stand him up. Id. at 01:45-2:07; Defs.’ App., Ex. 2, at 05:12-21.




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          Plaintiff continues to argue with the of cers. Defs.’ App., Ex. 2, at 05:23-28. The of cers nally

          manage to get Plaintiff into the vehicle. Id. at 05:29-40.

                   As of cers were getting Plaintiff into the car, Harris checked Plaintiffs driver’s license

          against the system. Defs.’ App., Ex. 1, at 05:58-06:28. Although the video footage is not entirely

          clear, it appears to be at that point that Harris realized that Plaintiff—Silvester Hayes—was not

          the same as the person with the felony warrant—Sylvester Hayes. See id.', see also Defs.’ App.,

          Ex. 11, at 03:23-33 (Of cer Harris stating that Plaintiff had an outstanding “tickef’); Defs.’ App. 7

          (indicating that Plaintiff only had awarrant for speeding). As aresult of his encounter with the

          of cers. Plaintiff suffered atom rotator cuff, post-traumatic stress disorder, and mild insomnia.

          PL’s App., Ex. 2[EOF No. 41-1] 8-9.

                  Two years after the incident. Plaintiff brought suit under 42 U.S.C. §1983. Compl. 1.

          Plaintiff brings causes of action for excessive force in violation of the Fourteenth Amendment*

          and unlawful arrest in violation of the Fourth Amendment against Guab and Harris. Id. 77-126.

          Plaintiff also brings aFourth Amendment claim against Defendant City of Dallas under a

          municipal liability theory. Id. 127-37. Plaintiff names Dallas Police Of cers Does 1Through 10

          (“Doe Defendants”) as defendants in the Complaint, but he does not expressly bring any causes of

          action against them. See id. 6.

                                                   II.   LEGAL        S TA N D A R D


                  Courts “shall grant summary judgment if the movant shows that there is no genuine dispute

          as to any material fact and the movant is entitled to judgment as amatter of law.” Fed. R. CiV.

          P. 56(a)', Anderson v. Liberty Lobby, Inc., All U.S. 242,247 (1986). In making this determination.



            If, as here, an excessive force claim “arises in the context of an arrest or investigatory stop of afree citizen,
          it is most properly characterized as one invoking the protections of the Fourth Amendment.” Graham v.
          Connor, 490 U.S. 386, 394 (1989); also Valencia v. Wiggins, 981 F.2d 1440, 1444 (5th Cir. 1993)
          (citation omitted). Therefore, the Court will analyze Plaintiffs claim under Fourth Amendment standards.


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     courts must view all evidence and draw all reasonable inferences in the light most favorable to the

     party opposing the motion. United States v. Diebold, Inc., 369 U.S. 654, 655 (1962). The moving

     party bears the initial burden of informing the court of the basis for its belief that there is no genuine

     issue for trial. Celotex Corp. v. Catrett, All U.S. 317, 323 (1986).

             When aparty bears the burden of proof on an issue, he “must establish beyond peradventure

     all of the essential elements of the claim or defense to warrant judgment in his favor.” Fontenot v.

     Upjohn Co., 780 F.2d 1190,1194 (5th Cir. 1986). When the nonmovant bears the burden of proof.

     the movant may demonstrate entitlement to summary judgment either hy (1) submitting evidence

     that negates the existence of an essential element of the nonmovant’s claim or af rmative defense.

     or (2) showing that there is no evidence to support an essential element of the nonmovant’s claim

     or af rmative defense. Celotex, All U.S. at 322-25. Once the movant has made this showing, the

     burden shifts to the nonmovant to establish that there is agenuine issue of material fact so that a

     reasonable jury might return averdict in its favor. Matsushita Elec. Indus. Co. v. Zenith Radio

     Corp., 475 U.S. 574, 586-87 (1986). “[Cjonclusory statements, speculation, and unsubstantiated

     assertions” will not suf ce to satisfy the nonmovanf sburden. RSR Corp. v. Int’l Ins. Co., 612 F.3d

     851, 857 (5th Cir. 2010). The Court resolves factual controversies in favor of the nonmoving party

      only when an actual controversy exists, that is, when both parties have submitted evidence of

     contradictory facts.” Olabisiomotosho v. City of Houston, 185 F.3d 521,525 (5th Cir. 1999) (citing

     McCallum Highlands, Ltd. v. Wash. Cap. Dus, Inc., 66 F.3d 89, 92 (5th Cir. 1995)).

                                                 III.   A N A LY S I S


                  Section 1983 provides afederal cause of action for the deprivation, under color of law, of

     acitizen’s ‘rights, privileges, or immunities secured hy the Constitution and laws’ of the United

     States.” Livadas v. Bradshaw, 512 U.S. 107, 132 (1994) (citation omitted). To state aclaim under

     Section 1983, aplaintiff must allege facts showing (1) adeprivation of aright secured by the


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               Constitution and the laws of the United States; and (2) that the deprivation occurred under color

               of state law. See Flagg Bros., Inc. v. Brooks, 436 U.S. 149, 155 (1978); Cornish v. Corr. Servs.

               Corp., 402 F.3d 545, 549 (5th Cir. 2005) (citation omitted). “Claims under §1983 may be brought

               against persons in their individual or of cial capacity, or against agovernmental entity.” Goodman

               V. Harris County, 571 F.3d 388, 395 (5th Cir. 2009) (citing Bd. of Cnty. Comm’rs of Bryan Cnty.

               V. Brown, 520 U.S. 397, 403 (1997)).

                      Here, Plaintiff brings Section 1983 claims against Guab and Harris in their individual

               capacities and against the City of Dallas under atheory of municipal liability. Guab and Harris

               argue that they are entitled to summary judgment based on quali ed immunity. Defs.’ Br. 16-28.

               The City of Dallas contends that Plaintiff has not pleaded an underlying constitutional violation

               and thus cannot hold it liable under Section 1983. Id. at 28-29.


                                                    A. Quali ed Immunity

                       'Quali ed immunity protects of cers from suit unless their conduct violates aclearly

               established statutory or constitutional right.” Edmiston v. Borrego, 75 F.4th 551, 558 (5th Cir.

               2023) (cleaned up), cert, denied sub nom. Crandel v. Hall, 144 S. Ct. 1002 (2024). When an of cial

               asserts quali ed immunity, the burden is on the plaintiff to demonstrate that the defendant is not

               entitled to quali ed immunity. Joseph ex rel. Est. of Joseph v. Bartlett, 981 F.3d 319, 329-30

               (5th Cir. 2020) (citation omitted). The plaintiff must show (1) that the of cial violated astatutory

               or constitutional right and (2) that the right was clearly established at the time of the challenged

               conduct. Roque v. Harvel, 993 F.3d 325, 331 (5th Cir. 2021) (citation omitted).




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                                           i. Violation of Constitutional Right

                                                   a. Excessive Force


                 Plaintiff contends that Guab and Harris used excessive force in effectuating his arrest. See,

          c.g., PL’s Br. f105. To establish an excessive force claim, the plaintiff must establish (1) an injury,

          (2) that resulted directly and only from ause of force that was clearly excessive, and (3) the

          excessiveness of which was clearly unreasonable. Ratliff v. Aransas County, 948 F.3d 281, 287

          (5th Cir. 2020) (citation omitted). “Our precedents recognize that inquiries regarding whether a

          use of force was ‘clearly excessive’ or ‘clearly unreasonable ... are often intertwined,’ and we

          consider those questions together ... .” Darden v. City of Fort Worth, 880 F.3d 722, 728 (5th Cir.

          2018) ( rst alteration in original) (quoting Hanks v. Rogers, 853 F.3d 738, 744 (5th Cir. 2017)).

                 As to the rst element. Plaintiff has demonstrated an injury. He submitted an af davit from

          Dr. Adrienne Grant, D.O., averring that Plaintiff suffered atorn rotator cuff, post-traumatic stress

          disorder, and insomnia. PL’s App., Ex. 2, at 8-9. But Plaintiff has not satis ed the second and third

          elements because his injuries did not result directly and only from an unreasonable, excessive use

          of force by Guab or Harris.

                 The Court’s inquiry into the excessiveness and reasonableness of the use of force depends

          on “the facts and circumstances of each particular case.” Darden, 880 F.3d at 728 (quoting Deville

          V. Marcantel, 567 F.3d 156,167 (5th Cir. 2009)). “The ‘reasonableness’ of aparticular use of force

          must be judged from the perspective of areasonable of cer on the scene, rather than with the

          20/20 vision of hindsight.” Id. at 729 (quoting Graham, 490 U.S. at 396). This analysis “must

          embody allowance for the fact that police of cers are often forced to make split-second

          judgments—in circumstances that are tense, uncertain, and rapidly evolving—about the amount

          of force that is necessary in aparticular situation.” Harmon v. City of Arlington, 16 F.4th 1159,




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          1163 (5th Cir. 2021) (quoting Graham, 490 U.S. at 396-97). “In making this determination, acourt

          should consider the totality of the circumstances, ‘including [the following Graham factors:] the

          severity of the crime at issue, whether the suspect poses an immediate threat to the safety of the

          of cers or others, and whether he is actively resisting arrest or attempting to evade arrest by ight.

          Darden, 880 F.3d at 728-29 (quoting Graham, 490 U.S. at 396). Courts also consider “the

          relationship between the need [for force] and the amount of force used.” Betts v. Brennan, 22 F.4th

          577, 582 (5th Cir. 2022) (alteration in original) (citation omitted). The Court rst clari es the use

          of force in this case before examining each of the Graham factors in turn.

                    The Court notes that much of the force identi ed by Plaintiff was used by other of cers,

          not Guab or Harris. Ordinarily, “[t]he plaintiff’s factual assertions are taken as true to determine

          whether they are legally suf cient to defeat the defendant’s motion for summary judgment.” Craig

          V.   Martin, 49 F.4th 404, 409 (5th Cir. 2022) (alteration in original) (citation omitted). But where

           there is video and audio recording of the event,” the Court is “not required to accept factual
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          allegations that are ‘blatantly contradicted by the record.           Tucker v. City of Shreveport, 998 F.3d

          165, 170 (5th Cir. 2021) (quoting Scott v. Harris, 550 U.S. 372, 380 (2007)). Instead, the Court

           view[s] the facts in the light depicted by the videotape.” Id.

                    In the videotape, Guab—after repeatedly asking Plaintiff to step out of the car—^pulled on

          Plaintiffs arm and later his side or back to try to get him out of the car. Defs.’ App., Ex. 1,

          at 01:34-02:00. Once Plaintiff was out of the car on the ground, Guab helped hold Plaintiffs arm

          behind his back. Defs.’ App., Ex. 4, at 00:06-24. Guab then held onto Plaintiffs arm and shoulder

          while of cers held him up against apolice car and while they attempted to walk him to another

          police car. Id. at 00:38-01:35. Harris brie y grabbed Plaintiffs hand while other of cers were

          pulling him out of the car, helped other of cers attempt to hold Plaintiffs hands behind his back.




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           held Plaintiffs legs down while of cers were attempting to restrain him, and put her hands on

           Plaintiffs chest as of cers tried to get him to turn around and face the police car. See Defs.’ App.,

           Ex. 1, at 01:48-03:28. Harris’s entire involvement in the physical struggle with Plaintiff lasted less

           than two minutes. See id. Neither Guab nor Harris—^nor any of the other police of cers involved-

               Eick[ed], punch[ed], [or]... use[d] their tasers on Plaintiff.” Compl. 39. They also did not “hog

           tie[]” Plaintiff Id. ^45. Apparently recognizing the errors in his pleadings, Plaintiff dropped these

           allegations from his Af davit. PL’s App., Ex. 1, at 3-5. In the Af davit, the only speci c assertions

           with respect to Guab and Harris are that they “started pulling and pushing [Plaintiff] to the ground.

           Id. at 3.


                        The Court will assume arguendo that the rst Graham factor, the severity of the crime at

           issue, weighs against Guab and Harris’s use of force. Guab and Harris rst stopped Plaintiff for a

           minor traf c violation—failing to signal before turning left. After the traf c stop, and after Guab

           informed Plaintiff that he was being detained. Plaintiff resisted arrest by struggling against of cers

           as they attempted to handcuff him and restrain his legs. Defendants concede that “resisting arrest

           is aClass Amisdemeanor under Texas law.” Defs.’ Br. 19 (citing Tex. Penal Code §38.03). Minor

           crimes like traf c violations and misdemeanors generally weigh against the use of force. See, e.g.,

           Deville, 567 F.3d at 167 (concluding that “the need for force [was] substantially lower” where the

           plaintiff “was stopped for aminor traf c violation”).

                        However, Guab and Harris thought Plaintiff’ was the subject of awarrant for felony

           domestic violence. The severity of the crime evaluation must be “based upon the information the

           of cers had when the conduct occurred.” County of Los Angeles v. Mendez, 581 U.S. 420, 428

           (2017) (citation omitted). Felony domestic violence is amore severe crime than atraf c violation




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or misdemeanor. Nevertheless, the Court’s decision on severity would not change the outcome of

this case. So the Court will assume without deciding that this factor weighs against the use of force.

           As to the second factor, Plaintiff posed some threat to Guab and Harris. As long as Plaintiff

remained in his vehicle, he posed apotential danger to the of cers. “A motor vehicle can be used

as adangerous weapon, even when blocked in by apolice cruiser.” Brothers v. Zoss, 837 F.3d 513,

519 (5th Cir. 2016) (citing Plumhoffv. Rickard, 572 U.S. 765,776-77 (2014)). Areasonable of cer

could have feared that Plaintiff had aweapon in the car; in fact. Of cer Whitman later discovered

agun in Plaintiff’s pocket. See id. (citation omitted). And even when Plaintiff was pulled from the

vehicle, he continued to physically struggle while of cers attempted to restrain him. This factor

weighs in favor of Guab and Harris’s use of force.

           The third Graham factor, whether Plaintiff was actively resisting arrest or attempting to

evade arrest by ight, also weighs in favor of nding that the force used by Guab and Harris was

not excessive. Guab attempted to negotiate with Plaintiff, telling him multiple times to step out of

the car before touching him. Guab did not grab Plaintiff’s arm until after he had failed to comply

with repeated, clear instructions. “Of cers may consider asuspect’s refusal to comply with

instructions during atraf c stop in assessing whether physical force is needed to effectuate the

suspect’s compliance.” Deville, 567 F.3d at 167 (citation omitted); see also Brothers, 837 F.3d

at 519-20 (concluding that of cers were entitled to quali ed immunity when they used their hands

to pull the plaintiff from his vehicle after he refused to comply with instructions to get out of the

vehicle). And Guab did not take Plaintiff to the ground until his efforts to handcuff Plaintiff and

pull Plaintiff from the car failed. Of cers are entitled to take suspects to the ground in response to

non-compliance. Priest v. Grazier, 860 F. App’x 343, 347 (5th Cir. 2021) (citation omitted)

(holding that of cers were entitled to quali ed immunity where they pulled the plaintiff out of the




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          car and forced him to the groimd when he “did not comply with their repeated instructions” to get

          out of the car); see also Hutcheson v. Dallas County, 994 F.3d All, 480 (5th Cir. 2021) (“Resisting

          while being handcuffed constitutes active resistance and justi es the use of at least some force.

          (citation omitted)). After that point, Guab and Harris held onto Plaintiff’s limbs in an attempt to

          restrain him. Throughout the encounter, the of cers were “[fjaced with an uncooperative arrestee'

          and “properly use[d] ‘measured and ascending actions that correspond[ed] to [Plaintiff’s]

          escalating verbal and physical resistance.’” Cloud v. Stone, 993 F.3d 379, 384 (5th Cir. 2021)

          (citation omitted). In sum. Plaintiff’s active and prolonged resistance justi ed Guab’s and Harris’s

          uses of force.


                 Finally, turning to the relationship between the need for force and the amount of force used.

          the Court notes that Guab and Harris were presented with an uncooperative arrestee who at rst

          resisted passively by refusing to get out of the car and then resisted actively as of cers attempted

          to restrain him. In response to this rapidly evolving situation, Guab and Harris used relatively

          minor force. They pulled Plaintiff out of his car and occasionally helped hold him down as separate

          of cers were attempting to restrain him, and they later helped move him into apolice vehicle. And

          their use of force only escalated as Plaintiff’s noncompliance and resistance escalated, which, as

          the Court noted above, is appropriate.

                 Having considered the totality of the circumstances, including the Graham factors, the

          Court concludes that the force Guab and Harris employed was neither clearly excessive nor clearly

          unreasonable.


                                                    b. False Arrest


                 Plaintiff argues that Guab and Harris falsely arrested him because they mistakenly

          identi ed him as the Sylvester Hayes subject to an outstanding felony warrant. PL’s Br. 49-78.




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     The Fourth Amendment protects the “right of the people to be secure in their persons, houses,

     papers, and effects, against unreasonable searches and seizures.” U.S. Const, amend. IV. Arrests

     are seizures of persons and, therefore, must be reasonable under the circumstances to comply with

     the Fourth Amendment. See District of Columbia v. fVesby, 583 U.S. 48, 56 (2018) (citation

     omitted). To prevail on aFourth Amendment false arrest claim, aplaintiff must prove (1) that he

     was arrested, and (2) that the arrest was not supported by the requisite probable cause. Rhodes v.

     Prince, 360 F. App’x 555, 558 (5th Cir. 2010) (citation omitted).

             'Probable cause exists when the totality of the facts and circumstances within apolice

     of cer’s knowledge at the moment of arrest are suf cient for areasonable person to conclude that

     the suspect had committed or was committing an offense.” Mesa v. Prejean, 543 F.3d 264, 269

     (5th Cir. 2008) (citation omitted). Apolice of cer who has probable cause to believe that aperson

     committed even aminor offense may arrest that person without violating the Fourth Amendment.

     Atwater v. City ofLago Vista, 532 U.S. 318, 354 (2001). Plaintiff gave Guab and Harris probable

     cause for his arrest when he failed to use his turn signal before making aleft turn, in violation of

     Texas Transportation Code Sections 545.104(a) and (b). Under Texas law, “[a]ny peace of cer

     may arrest without warrant aperson found committing aviolation of the subtitle.” Tex. Transp.

     Code. §543.001. Sections 545.104(a) and (b) “fall under Section 543’s purview”; therefore, they

     granted Harris and Guab arrest authority for the violation. United States v. Allam,

     No. U23-CR-00010-MAC, 2023 WL 3398594, at *9 (E.D. Tex. Apr. 24, 2023) (citation omitted);

     see alsoCurleyv. Gonzalez,lAo. 3;15-CV-1341-L, 2017 WL 4351073, at *3-4 (N.D. Tex. Sept. 30,

     2017) (concluding that probable cause for arrest existed where the defendant-of cer observed the

     plaintiff turn right without signaling).




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                                                  a. Clearly Established Right

                  Although Plaintiffs case fails because he has not shown aconstitutional violation, the

          Court considers the seeond prong of the quali ed immunity analysis for the sake of eompleteness.

          The Court concludes that Plaintiff has failed to identify any controlling precedent that would put

          Guab and Harris on notiee that their actions violated Plaintiffs constitutional rights. See Joseph,

          981 F.3d at 336 (citing Saucier v. Katz, 533 U.S. 194, 199 (2001)). Under this second prong of the

          quali ed immunity analysis, courts “determine whether the defendant’s actions violated elearly

          established statutory or constitutional rights of which areasonable person would have known.

          Griggs V. Brewer, 841 F.3d 308, 312-13 (5th Cir. 2016) (citation omitted); see also Mullenix v.

          Luna, 511 U.S. 7, 11 (2015) (“A clearly established right is one that is suf eiently clear that every

          reasonable of cial would have understood that what he is doing violates that right.” (cleaned up)).

          And adefendant eannot be said to have violated aclearly established right unless the right’s

          contours were suf ciently de nite that any reasonable of cial in the defendant’s shoes would have

          understood that he was violating it.” Plumhoff, 572 U.S. at 778-79 (citation omitted). Accordingly,

           [a plaintiff] must identify acase that put [the defendant] on notiee that his speci c conduct was

          unlawful.” Salazar v. Molina, 37 F.4th 278, 285 (5th Cir. 2022) (quoting Rivas-Villegas v.

          Cortesluna, 595 U.S. 1, 6(2021)).

                  As to Plaintiff’s excessive force claim. Plaintiff does not identify any cases that clearly

          establish the law. This failure is unsurprising given that, as set forth at length above, Guab and

          Harris’s actions did not rise to the level of uneonstitutional excessive foree.


                  In support of his false arrest claim, Plaintiff points to several eases. He acknowledges that

          the facts of all of the cases are distinguishable but contends that they stand for the proposition that

           the determinative factor of whether an of cer is entitled to quali ed immunity in amistaken




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     identity case is whether that of cer made reasonable efforts to ensure that the warrant he is

     executing on aperson or place is the correct person or place.” PL’s Br. 91, 96.

            First, Plaintiff relies on Maryland v. Garrison, 480 U.S. 79 (1987). See PL’s Br. 85-88.

     Garrison, unlike this case, involved of cers misidentifying an apartment that was subject to a

     search warrant. 480 U.S. at 80. Second, Plaintiff cites Rogers v. Hooper, 271 F. App’x 431 (5th Cir.

     2008). See PL’s Br. ]f 89. Rogers is unpublished and thus “cannot be the source of clearly

     established law for quali ed immunity analysis.” Jimerson v. Lewis, 94 F.4th 423,429 n.2 (5th Cir.

     2024) (citation omitted). Further, Rogers involved awarrant to search ahouse, not awarrant for a

     person’s arrest. 271 F. App’x at 431-32. Third, Plaintiff cites Jimerson, 94 F.4th 423. See PL’s Br.

     T| 90. Jimerson was decided after the incident at issue and thus could not clearly establish the law.

     And Jimerson involved police of cers executing asearch warrant at an incorrect house. 94 F.4th

     at 425. Plaintiff also points to an Eleventh Circuit case, Harts eld v. Lemacks, 50 F.3d 950

     (11th Cir. 1995). PL’s Br.^^ 92-96. This case is nonprecedential in the Fifth Circuit. Moreover,

     like the other cases cited by Plaintiff, Harts eld dealt with awarrant to search aresidence, not a

     warrant to arrest an individual. 50 F.3d at 955-56.


            Even setting aside the factual and other issues with the cases cited by Plaintiff, they all

     share one fatal aw. Each case, in Plaintiff’s own words, deals with mistaken identity and the

     question of whether an of cer “made reasonable efforts to ensure that the warrant he is executing

     on aperson or place is the correct person or place.” PL’s Br. ^91. But here, as set forth above, the

     mistaken identity issue became irrelevant as soon as Guab and Harris witnessed Plaintiff commit

     atraf c violation. That traf c violation—not the of cers’ mistake in searching in the system for

     “Sylvester Hayes” instead of “Silvester Hayes”—^provided probable cause for Plaintiff’s arrest.

     See supra §III.A.i.b. Therefore, whether Guab and Harris made reasonable efforts to ensure that



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          Plaintiff was in fact the subject of the outstanding warrant is legally irrelevant, and none of the

          cases cited by Plaintiff show that Guab and Harris violated Plaintiff’s clearly established rights.

                  For all of the foregoing reasons, the Court concludes that Guab and Harris are entitled to

          quali ed immunity with respect to Plaintiff’s Fourth Amendment claims for excessive force and

          false arrest.


                                                B. Municipal Liability

                  The Court turns next to Plaintiffs claim against the City of Dallas. “[IJsolated

          unconstitutional actions by municipal employees will almost never trigger [municipal] liability.

          Piotrowski v. City of Houston, 237 F.3d 567, 578 (5th Cir. 2001) (citation omitted). As such, “a

          local government may not be sued under §1983 for an injury in icted solely by its employees or

          agents. Instead, it is when execution of agovernment’s policy or custom ... in icts the injury that

          the government as an entity is responsible under §1983.” Monell v. Dep’t ofSoc. Servs. of NY,

          436 U.S. 658, 694 (1978). “The Fifth Circuit interprets Monell as requiring aplaintiff to identify

          ‘(1) an of cial policy (or custom), of which (2) apolicy maker can be charged with actual or

          constructive knowledge, and (3) aconstitutional violation whose “moving force” is that policy (or

          custom).”’ Allen v. Hays, 65 F.4th 736, 749 (5th Cir. 2023) (quoting Pineda v. City of Houston,

          291 F.3d 325, 328 (5th Cir. 2002)).

                  Acourt need not consider municipal liability if it does not nd an underlying constitutional

          violation. Carvell ex rel. HA.A.W. v. Gibson, No. 23-30252, 2024 WL 4533312, at *4 (5th Cir.

          Oct. 21, 2024) (citing Hicks-Fields v. Harris County, 860 F.3d 803, 808 (5th Cir. 2017)). That is

          so because every municipal liability claim requires “an underlying constitutional violation.” Hicks-

          Fields, 860 F.3d at 808 (quoting Kitchen v. Dallas County, 759 F.3d 468,483 (5th Cir. 2014)). For

          the reasons set forth above, the Court concludes that Plaintiff has not established that Guab or




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               Harris violated his constitutional rights. “That alone forecloses his claim,” at least with respect to

               Guah and Harris’s conduct. Jackson v. City ofHearne, 959 F.3d 194, 204 (5th Cir. 2020).

                       But Plaintiff premises his municipal liahility claim on the actions of unnamed police

               of cers as well. See, e.g., PL’s Br. 1167(h) (arguing that “none of the [Doe Defendants] were

               disciplined for the excessive force that they used to arrest Plaintiff ...under an erroneous

               warrant”). Plaintiffs municipal liability claims involving unnamed of cers are predicated on the

               same two purported constitutional violations discussed above—false arrest and excessive force.

               See id. 1167(c) (contending that the City of Dallas failed to train its of cers on verifying aperson’s

               identity, proper arrest and confrontation techniques, excessive force, proper seizure, detention, and

               arrest procedures, use of force against passively resisting individuals, less violent means to seize,

               detain, or arrest aperson, and de-escalation methods). And amunicipality “may still be liable if
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               the alleged injuries are not ‘solely attributable to the actions of named individual defendants.

               Bustos V. Martini Club Inc., 599 F.3d 458,467 (5th Cir. 2010) (quoting Curley v. Village ofSuffern,

               268F.3d65,71 (2d Cir. 2001)).

                       For the reasons set forth above, the Court determines that Plaintiff has not established a

               false arrest claim against any police of cer. Plaintiffs traf c violation provided probable cause

               for his arrest. See supra §III.A.i.b.

                      As to excessive force, the Court, considering all the factors set forth previously, concludes

               that no of cer on the scene used force that was clearly excessive and unreasonable. Again, the

               Court nds it helpful to rst de ne the force used. Broadly, the of cers helped Guah pull Plaintiff

               out of his car, assisted in holding Plaintiff down and trying to handcuff him and—later—restrain

               his legs, and struggled to walk Plaintiff to apolice vehicle and to get Plaintiff into the vehicle.

               Though Plaintiff claims that one or more of cers “can be seen dangerously pressing with his shin




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               on the back of [Plaintiff’s] neck” and using a“lateral vascular neck restraint” on Plaintiff, PL’s Br.

                      24-25, these assertions are belied by the video evidence. During the rst struggle on the ground.

               an of cer has his foot on the ground and his knee on the top part of Plaintiff sback. Defs.’ App.,

               Ex. 2, at 01:29-35. Later, an of cer holds Plaintiffs head down so that his cheek is against the

               ground. Id. at 02:07-28. The same of cer also intermittently has his hand on the back or side of

               Plaintiffs neck. Defs.’ App., Ex. 4, at 00:10-26. Later, as the of cers attempt to push Plaintiff into

               the police car, an of cer wraps his ngers around Plaintiffs throat and appears to raise his knee

               to Plaintiffs stomach. Defs.’ App., Ex. 1, at 03:59-04:03. The same of cer then pushes down on

               the back of Plaintiff shead as he tries to get Plaintiff inside the vehicle. Id. at 04:04-11. Finally,

               during the struggle with Plaintiff outside the police vehicle, one of cer has his knee on the ground

               near Plaintiffs neck and intermittently holds the side of Plaintiff sface down with his hand. Defs.’

               App., Ex. 2, at 03:40-04:30; Defs.’ App., Ex. 5, at 00:44-01:00, 01:13-41, 02:10-11; Defs.’ App.,

               Ex. 7, at 00:43-50. Plaintiff accuses an of cer of pressing on his pressure points, and the of cer

               con rms that he is doing so. Defs.’ App., Ex. 2, at 04:16-22. Throughout this time. Plaintiff is

               actively struggling against the of cers as they attempt to restrain him.

                                Having reviewed the evidence, the Court concludes that none of the of cers used excessive

               force. Instead, they “properly use[d] ‘measured and ascending actions that correspond[ed] to

               [Plaintiff’s] escalating verbal and physical resistance.’” Cloud, 993 F.3d at 384 (citation omitted).

               Outside of one of cer momentarily grabbing Plaintiff’s throat and possibly hitting Plaintiff in the

               stomach with his knee, the of cers used relatively minor force, even as Plaintiff screamed, resisted

               restraint, and refused to get in the police car. And as soon as Plaintiff’s wrists and ankles were

               restrained, the of cers put Plaintiff in the police car and then ceased their use of force. The Court

                nds the use of force neither clearly excessive nor clearly unreasonable; therefore, the of cers did




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not violate Plaintiff’s constitutional rights. And without aconstitutional violation, Plaintiff cannot

sustain his municipal liability claim against the City of Dallas.

                                           C. Doe Defendants

            Finally, Defendants ask the Court to sua sponte dismiss all claims against Doe Defendants.

Defs.’ Br. 6n.2. Plaintiff does not address this argument. Even if the Court     nds that Plaintiff did

not abandon his claims against these Defendants by failing to respond to the Motion on this point.

see Black v. N. Panola Sch. Dist., 461 F.3d 584, 588 n.l (5th Cir. 2006), the claims are barred by

the applicable statute of limitations.

            To the extent Plaintiff asserts claims against Doe Defendants, such claims would arise

under 42 U.S.C. §1983. See Compl. 77-96 (asserting excessive force claim against Harris and

Guab under Section 1983 and mentioning Doe Defendants’ conduct). “Because there is no federal

statute of limitations for actions brought pursuant to 42 U.S.C. [§ 1983], federal courts borrow the

forum state’s general personal injury limitations period.              Beckwith v. City of Houston,

790 F. App’x 568, 575 (5th Cir. 2019) (citation omitted). Texas’s statute of limitations for personal

injury claims is two years. Id. at 572 (citation omitted). Federal law, however, governs when a

claim accrues. See Piotrowski, 237 F.3d at 576 (citation omitted). ASection 1983 claim accrues

when the plaintiff knows or has suf cient information to know that he has been injured by the

defendant’s actions. Id. (citations omitted). In this case. Plaintiffs claims accrued on October 16,

2021, the date of Plaintiff sarrest. Plaintiff brought suit within two years of October 16, 2021, but

he still has not identi ed Doe Defendants.


             [A]n amended complaint to substitute an individual for aJohn Doe defendant does not

relate back to the date of the original complaint....” Bond v. Nueces County, No. 20-40050,2022

WL 4595000, at *2 n.2 (5th Cir. Sept. 30,2022) (citation omitted); see also Bade v. Nueces County,

952 F.3d 552, 557-58 (5th Cir. 2017) (concluding that an amended complaint does not relate back


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to the date of the original complaint where the plaintiff substitutes anamed individual for aJohn

Doe). The doctrine of equitable tolling is available to preserve Plaintiffs claims if “strict

application of the statute of limitations would be inequitable.” Balle, 952 F.3d at 558 (citation

omitted). But Plaintiff has not responded to the Motion on this point, sought discovery, or

otherwise “diligently pursued [his] rights as required for equitable tolling of the limitations

period.” Bond, 2022 WL 4595000, at *2 n.2. Indeed, by ling this case on October 16, 2023, the

date the statute of limitations ran. Plaintiff all but ensured he would not be able to name Doe

Defendants in time. See Balle, 952 F.3d at 558. As such, the Court nds no basis for equitable

tolling and dismisses Plaintiffs claims against Doe Defendants.

                                      I V.        CONCLUSION


       For the foregoing reasons, the Court GRANTS Defendants’ Motion for Summary

Judgment [ECF No. 30]. This case is DISMISSED WITH PREJUDICE.

       SO   ORDERED.


       SIGNED April 25, 2025.



                                                         IC\REN     GREN    SCHOLER
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